                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF TENNESSEE
                      SITTING AT GREENEVILLE
 UNITED STATES OF AMERICA,          )    Case No.: 2:23-CR-111
                                    )
 v.                                 )
                                    )
 SEAN CHRISTOPHER WILLIAMS,         )
      Defendant.                    )


            MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL


       Now comes Joseph O. McAfee, Counsel for the Defendant, Sean Christopher

 Williams, and hereby moves for leave to file the proposed document under seal.



                                                Respectfully Submitted,



                                                /s/ Joseph McAfee


                                                Joseph O. McAfee, BPR #029291
                                                McAfee & McAfee, PLLC.
                                                127 South Main Street
                                                Greeneville, TN 37743
                                                Phone: (423) 638-7000
                                                Fax: (423) 638-9999
                                                Email: joseph@mcafeeattorneys.com

                                                Attorney for Defendant




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